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Of Counsel:
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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


DAVID H. AND KATHLEEN HAAR, a                 )
married couple,                               )   Case No. 4:18-cv-102
                                              )
            Plaintiffs,                       )   (Removed from Idaho District Court,
                                              )   Teton County, Case No. CV 17-285)
            v.                                )
                                              )   UNITED STATES OF AMERICA’S
ROGER J. AND DANA HOOPES, a married )             NOTICE OF REMOVAL
couple; KANDLER FARMS, INC., an Idaho )
corporation; FIRST AMERICAN TITLE             )
COMPANY, INC., an Idaho corporation;          )
IDAHO STATE TAX COMMISSION, an Idaho)
agency; STATE OF IDAHO, ex rel.               )
INDUSTRIAL COMMISSION, an Idaho               )
agency; Department of Treasury, Internal      )
Revenue Service, a United States Agency; VI- )
CORE LLC, an Idaho limited liability company; )
JOEL PINON-MEDINA, an individual; Credit )
Bureau of Eastern Idaho, Inc., an Idaho       )
corporation; MAUGHAN FARMS, INC., a           )
Montana corporation; COLBIE HOLDERNESS,)
an individual; SPENCER PAULSON, an            )
individual; all heirs to the ESTATE OF        )



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ELIZABETH ANN HOOPES PAULSON; and )
GARY PAULSON, as personal representative )
 of the ESTATE OF ELIZABETH ANN           )
HOOPES PAULSON on behalf of all heirs;    )
COMPUTERIZED FARMING, LLC, an Idaho )
limited liability company; RIVER RIM RANCH)
OWNERS ASSOCIATION, INC., an Idaho        )
corporation; and DOES I-X, unknown        )
individuals and/or entities,              )
                                          )
            Defendants.                   )
_______________________________________)

       TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF IDAHO:

       PLEASE TAKE NOTICE that the United States of America, on behalf of the Department

of Treasury, Internal Revenue Service, by and through its undersigned counsel, hereby removes

the above-captioned action to the United States District Court for the District of Idaho, pursuant

to 28 U.S.C. §§ 1442 and 1444.

       1.      On November 30, 2017, Plaintiffs initiated this matter in the District Court of the

Seventh Judicial District of the State of Idaho, in and for Teton County, by filing a Complaint to

Quiet Title.

       2.      The Complaint names the Department of Treasury, Internal Revenue Service as a

Defendant and alleges that that the United States has a lien against the Property that is the subject

of the Complaint.

       3.      This case may be removed under 28 U.S.C. § 1442 because the United States is

named as a defendant. This case may also be removed under 28 U.S.C. § 1444 because the

Complaint concerns a claim against real property upon which the United States claims a lien.

       4.      The United States Attorney for the District of Idaho was served with a copy of the

summons and complaint on or about January 29, 2018. Therefore, this Notice of Removal is

being timely filed under 28 U.S.C. § 1446.




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       5.      In compliance with 28 U.S.C. § 1446(a) and Local Rule 5.2(d)(1), true and correct

copies of all pleadings in possession of the United States and a copy of the State Court register of

actions for this case are attached hereto as Exhibit A.

       6.      By filing this notice, the United States does not waive any defenses listed in Rule

12 of the Federal Rules of Civil Procedure.

       7.      This action may be removed without bond pursuant to 28 U.S.C. § 2408 because

the United States has initiated this removal.

       8.      A copy of this notice will be filed with the District Court of the Seventh Judicial

District of the State of Idaho, in and for Teton County, and served upon all known parties.

       WHEREFORE, notice is given that the above-captioned action now pending in the

District Court for the Seventh Judicial District of the States of Idaho, in and for Teton County,

Case Number 17-285, has been removed to this Court.

       Dated this 28th day of February, 2018.
                                                  RICHARD E. ZUCKERMAN
                                                  Principal Deputy Assistant Attorney General

                                                  /s/ Yael Bortnick
                                                  YAEL BORTNICK
                                                  Trial Attorney, Tax Division
                                                  U.S. Department of Justice
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                                                  Of Counsel:
                                                  BART M. DAVIS
                                                  United States Attorney, District of Idaho




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                               CERTIFICATE OF SERVICE

I hereby certify that on this 28th day of February 28, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, and on the same date I have mailed
the document by United States Postal Service to the following non-CM/ECF participants:

Amy Wallace Potter               ID Industrial Commission         Colbie Holderness
Garland & Potter, LLC            700 Clearwater Ln                3636 16th St. NW
235 E. Broadway                  Boise, ID 83712                  Apt. B312
P.O. Box 4310                                                     Washington, DC 20010
Jackson, WY 83001                Vi-Core
Attorney for Plaintiff           c/o Teresa Albertson             Spencer Paulson
                                 2151 Tomahawk Trail              3374 N. Whistler Ln
Roger and Dana Hoopes            Victor, ID 83455                 Apt 304
8787 W. 4000 N                                                    Boise, ID 83703
Tetonia, ID 83452                Joel Pinon-Medina
                                 c/o Craig M. Young, Esq.         Gary Paulson
Kandler Farms                    Goicoechea Law Offices           c/o Jason S. Risch
c/o Michael Brown                826 Main Street                  RISCH PISCA, PLLC
520 First American Circle        PO Box 287                       Attorneys at Law
Rexburg, ID 83440                Lewiston, Idaho 83501            407 West Jefferson Street
                                                                  Boise, Idaho 83702
First American Title             Credit Bureau of Eastern
Company                          Idaho                            Computerized Farming
c/o Quinn H. Stufflebeam         c/o Ned A. Zollinger             c/o Gregory C. Calder
195 S. Broadway                  115 E. Main                      2105 Coronado St.
Blackfoot, ID 83221              Rexburg, ID 83440                Idaho Falls, ID 83422

ID Tax Commission                Maughan Farms                    River Rim Ranch Owners
800 E. Park Blvd.,               c/o Jana Maughan                 c/o Lance J. Schuster
Plaza IV                         153 Cemetery Rd.                 2105 Coronado St.
Boise, ID 83712                  Hysham, MT 59038                 Idaho Falls, ID 83404




                                          /s/ Yael Bortnick
                                          YAEL BORTNICK
                                          Trial Attorney
                                          United States Department of Justice, Tax Division




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